FILED
12th JUDICIAL DISTRICT COURT

Otero County
STATE OF NEW MEXICO 6/18/2019 10:40 AM
COUNTY OF OTERO KATINA WATSON
TWELFTH JUDICIAL DISTRICT COURT CLERK OF THE COURT

Sven Michael Sears

BELLEVIEW VALLEY LAND CO., a New
Mexico corporation, and JOHN H. WILLIAMS
and ELLEN B. WILLIAMS, husband and wife,

Plaintiffs,

v. Cause No. CV-2010-01054
Judge James Waylon Counts

TAMMY SPRAGUE, Personal Representative

of the Estate of Fred Van Winkle, Deceased,

Defendant/Petitioner,

and

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

Defendants-in-Intervention.

DEFENDANT’S RESPONSE TO
PLAINTIFFS’ NOTICE OF PRESENTMENT OF
ORDER ON MOTION FOR SUMMARY JUDGMENT

Defendant, Tammy Sprague, as personal representative of the estate of Fred Van Winkle,
through her counsel of record, Law Office of Kyle H. Moberly, P.C., responds to Plaintiffs’ Notice
of Presentment of Order on Motion for Summary Judgment (‘‘Plaintiffs’ Notice”) as follows:

} Following the Court’s hearing on March 11, 2019, of Plaintiffs’ Motion for Summary
Judgment, the Court entered a Minute Order on April 26, 2019, granting Plaintiffs’ motion. In that

order, the Court stated its findings of undisputed material facts and its conclusions of law. The

Defendant's Response to Plaintiffs’
Notice of Presentment of Belleview Valley Land Co v Sprague

Order on Motion for Summary Judgment CV-2010-01054

Page | of 4

PLAINTIFF'S
EXHIBIT

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Minute Order directed Plaintiffs’ counsel, Kenneth D. Dugan, to “prepare an order that reflects the
Court’s ruling herein.”

2. Plaintiffs’ counsel sent Defendant’s counsel, Kyle H. Moberly, his draft of the Order
on Plaintiffs’ Motion for Summary Judgment to Foreclose Judgment Lien (the “Order’’) via email
on May 8, 2019. A copy of Plaintiffs’ counsel’s draft of the Order, along with his transmittal email,
are attached hereto as Exhibit A.

3. Defendant’s counsel objected to Plaintiffs’ draft of the Order because it went way
beyond reflecting “the Court’s ruling” in the Minute Order. It included findings of fact and
conclusions of law that were not included in the Minute Order. Defendant’s counsel revised
Plaintiffs’ counsel’s draft of the Order and sent his revised draft of the Order, along with a redlined
comparison of his revised draft of the Order to Plaintiffs’ counsel’s draft of the Order, to Plaintiffs’
counsel via email on May 13, 2019. A copy of Defendant’s counsel’s revised draft of the Order,
along with the redlined comparison of his revised draft of the Order to Plaintiffs’ counsel’s draft of
the Order and his transmittal email, are attached hereto as Exhibit B.

4. Defendant’s counsel did not receive any response from Plaintiffs’ counsel to his
revised draft of the Order until he received Plaintiffs’ Notice.

5. Plaintiffs’ Notice includes a draft of the Order that was not previously presented to
Defendant’s counsel. Like Plaintiffs’ counsel’s previous draft of the Order, the draft of the Order
that is a part of Plaintiffs’ Notice includes findings of fact and conclusions of law that were not

included in the Minute Order. Furthermore, many of the additional conclusions of law are not true

Defendant's Response to Plaintiffs’
Notice of Presentment of Belleview Valley Land Co v Sprague
Order on Motion for Summary Judgment CV-2010-01054

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conclusions of law; they are orders. Therefore, Defendant objects to Plaintiffs’ counsel’s draft of
the Order that is a part of Plaintiffs’ Notice.
6. Plaintiffs included in Plaintiffs’ Notice dictum from the memorandum opinion of the
New Mexico Court of Appeals in Nationstar Mortgage LLC v. Chenoweth, 2018 WL 2213641
(N.M. App., April 2, 2018), concerning the actions that a party must take to redeem property sold
at a foreclosure sale. Plaintiffs stated in Plaintiffs’ Notice that the “Court will need to address . . .
whether it is bound by Nationstar.” Plaintiffs’ counsel should know that Rule 12-405 NMRA
specifically provides that unpublished memorandum opinions like the one in Nationstar are “not
precedent.” Thus, the Court does not “need to address whether it is bound by Nationstar,”
especially dictum therein.
Defendant respectfully requests that the Court either enter her counsel’s draft of the Order
or set a presentment hearing of the matter.
Respectfully submitted,
LAW OFFICE OF KYLE H. MOBERLY, P. C.
By: /s/Kyle H. Moberly _
Kyle H. Moberly
State Bar #245
Attorney for Defendant
2460 S. Locust Ste. E

Las Cruces, NM 88001
(575) 541-1278

Defendant’s Response to Plaintiffs’
Notice of Presentment of Belleview Valley Land Co v Sprague
Order on Motion for Summary Judgment CV-2010-01054

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CERTIFICATE OF SERVICE
I hereby certify that on June 18, 2019, Defendant’s Response to Plaintiffs’ Notice of

Presentment of Order on Motion for Summary Judgment was served on Plaintiffs’ counsel of record
electronically through the Odyssey File & Serve/Tyler Technology system.

/s/ Kyle H. Moberly

KYLE H. MOBERLY
Defendant’s Response to Plaintiffs’
Notice of Presentment of Belleview Valley Land Co v Sprague
Order on Motion for Summary Judgment CV-2010-01054
Page 4 of 4

Case 20-01022-t Doc 40-2 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 4 of 29
Kyle Moberly .

From: Ken Dugan <kdugan@lawmdm.com>
Sent: Wednesday, May 8, 2019 11:24 AM
To: Kyle Moberly

Subject: Re: Williams Lincoln County Suit
Attachments: Order.MSJ.050619.1.doc

Mr. Moberly

Attached is the draft order requested by the Court. Please advise if you
can agree as to form. If | have not heard from you in five days, | will
tender it to the court under the assumption that you will file whatever objections you may have.

Kenneth D. Dugan

Martin, Dugan & Martin
509 W. Pierce St.

P.O. Box 2168

Carlsbad, NM 88221-2168
(575) 887-3528

(575) 887-2136 (fax)

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the sender at kdugan@lawmdm.com and destroy the original e-mail transmission. Thank you.

Exhibit A

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TWELFTH JUDICIAL DISTRICT COURT
COUNTY OF LINCOLN
STATE OF NEW MEXICO

BELLEVIEW VALLEY LAND CO, a New Mexico
corporation, and John Williams and ELLEN B.
WILLIAMS, husband and wife,

Plaintiffs, No. CV-2015-00065

VS.

THE ESTATE OF FRED VAN WINKLE, deceased,

Nee oS SS oe ee

Defendant.

ORDER ON PLAINTIFFS’ MOTION FOR SUMMARY |
JUDGMENT TO FORECLOSE JUDGMENT LIEN AND
SUPPORTING BRIEF

Case 20-01022-t Doc 40-2 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 6 of 29
CAME ON to be heard the Plaintiffs’ Motion for Summary Judgment to Foreclose
Judgment Lien and Supporting Brief (the “Motion’) filed by Belleview Valley Land Co.
(“BVL”), John Williams and Ellen B. Williams ( Plaintiffs”). The parties were represented by
counsel in the hearing on March 11, 2019. Plaintiffs appeared through counsel, Kenneth Dugan.
Defendants appeared through counsel, Kyle Moberly. The Court having heard arguments of
counsel and being otherwise fully advised in the premises, finds that the Motion should be and
hereby is GRANTED for the reasons stated in the Motion.

Among other undisputed facts stated in the Motion, the Court finds the following material
facts are undisputed and most relevant:

1. The Court conducted a trial on the merits involving the same parties (Fred Van Winkle
and Brian Van Winkle) and real property involved herein on August 13, 2010, in Cause
No. D-1215-CV-200800076.

2. Plaintiffs obtained judgment against Fred Van Winkle in the amount of $243,944.31.

3. On August 17, 2010, Plaintiffs recorded a Transcript of Judgment reflecting the judgment
with the County Clerk of Otero County New Mexico, which created a judgment lien.

4. On December 16, 2010, Plaintiffs file their Complaint to Foreclose Judgment Lien,
seeking to foreclose on the judgment lien.

5. On or about September 1, 2011, the foreclosure action was stayed due to Fred Van
Winkle filing for relief under Chapter 13 of the Bankruptcy Code. Said bankruptcy
petition was dismissed due to failure to perform under the plan.

6. Fred Van Winkle filed a subsequent bankruptcy petition under Chapter 7. Fred Van

Winkle ultimately obtained a discharge in the Chapter 7 action.

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7. Plaintiffs filed an adversary action in Bankruptcy Court to lift the stay and the judge, the
Honorable Robert H. Jacobvitz, lifted the stay and permitted Plaintiffs to proceed to
foreclosure to enforce their judgment lien as to Debtor's Otero County property.

8. On May 22, 2014, Plaintiffs then obtained judgment in foreclosure in this Court for
$333,817.73 (plus continuing interest and possible attorneys’ fees), and the subject
property herein was sold at a special master's sale.

9. Plaintiffs bid $67,000.00 at the special master's sale. That was the high (and only) bid,
and Plaintiffs took title to the property by Special Master's Deed.

10. In July 2014, this Court confirmed the sale and granted Plaintiffs a continuing in rem
deficiency judgment in the amount of $271,905.61, plus interest.

11. On August 8, 2014, Plaintiffs recorded their transcript of judgment with the Otero County
Clerk, perfecting their judgment lien on the Defendants’ property in the amount of
$271,905.61, plus interest.

12. On April 20, 2015, and within nine (9) months of the judgment, Defendant Estate of Fred
Van Winkle filed its Petition for Redemption herein, seeking to redeem the property by
payment of $73,200.94.

13. On April 21, 2015, this Court issued the order authorizing deposit of the redemption
funds into the court registry, and Defendant Estate of Fred Van Winkle subsequently
deposited into the court registry the $73,200.94 sum.

14. Defendant and Defendants-in-Intervention are seeking herein to redeem the property free
of any liens.

15. Defendant and Defendants-in Intervention are not bona fide purchasers in good faith.

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16. The estate of Fred Van Winkle has no assets other than various real property interests that
are subject to the deficiency judgment liens referenced above.
THE COURT MAKES THE FOLLOWING CONCLUSIONS OF LAW:
A. There are no issues of material fact, and thus summary judgment is appropriate.
B. NMSA Section 39-5-18 provides:

[T]he real estate may be redeemed by the former defendant owner of the real
estate ...

(1) _ by paying to the purchaser, at any time within nine months from the date
of sale, the amount paid at the sale, with interest from the date of sale at the
rate of ten percent a year, together with all taxes, interest and penalties
thereon, and all payments made to satisfy in whole or in part any prior lien or
mortgage not foreclosed, paid by the purchaser after the date of sale, with
interest on the taxes, interest, penalties and payments made on liens or
mortgages at the rate of ten percent a year from the date of payment; OR

(2) _ by filing a petition for redemption in the pending foreclosure case in the
district court in which the order, judgment or decree of foreclosure was
entered and by making a deposit of the amount set forth in Paragraph (1) of
this subsection in cash in the office of the clerk of that district court, at any
time within nine months from the date of sale.

§39-5-18 NMSA 1978. That statute provides two methods of redemption.

C. There are two methods of redemption. “Succinctly stated, the right of redemption
may be exercised by either: (1) paying to the foreclosure sale purchaser the purchase
price of the real property, plus statutory interest and taxes; or (2) by filing a petition
for redemption in the district court and depositing the foreclosure purchase price plus
statutory interest and taxes in the court registry. Section 39-S—18(A). ... The statute

does not require any further action for a party to redeem.” Nationstar Mortgage LLC
v. Chenoweth, 2018 WL 2213641 (N.M. App., April 2, 2018) (unpublished opinion)

(emphasis added); Chapel v. Nevitt, 2009-NMCA-017, § 27, 145 N.M. 674 (holding

there are two methods of redemption, and “if the debtor chooses to redeem under

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subsection (A)(2) and not pay the purchaser directly... the debtor must (1) petition
the district court and (2) deposit a sum of money in the court registry within nine
months from the date of sale”). Defendants opted to redeem under subsection
(A)(2): i.e., filing a petition for redemption and depositing the stated sums. That
filing and payment exercised the redemption as a matter of law. Nationstar; Chapel.
D. Plaintiffs' judicial lien was not fully satisfied by the foreclosure on Fred Van
Winkle's land. Plaintiffs have the right to seek satisfaction of their judgment, in rem,
from the former defendant owner. Defendant’s redemption automatically reinstated

Plaintiffs’ prior judgment lien. Tumer v. Les File Drywall, Inc. 1994-NMSC-010, {[ 5,

117 N.M. 7 (“[O]nce a mortgagor redeems his foreclosed property, the property once
again becomes part of the mortgagor's real estate subject to prior judgment liens on
the mortgagor's property.”); Langhurst v. Langhurst, 1945-NMSC-042, { 8-10, 49
NM. 329.

E. Plaintiffs now seek to foreclose. Plaintiffs have the ability to seek payment of
their judgment lien by again proceeding to foreclose the real property redeemed
herein.

F. Prior to issuing a certificate of redemption, "the judge shall determine the amount
of money necessary for the redemption, which shall include the money paid at the
sale and all taxes, interest, penalties and payments made in satisfaction of liens,
mortgages and encumbrances." §39-5-18 NMSA 1978. Defendants have not yet
paid the full sums owing under that statute, including taxes and interest accruing since

2015, when they redeemed. W. Bank of Las Cruces v. Malooly, 1995-NMCA-044,

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28, 119 N.M. 743 (holding interest accrues on redemption amount through date of
final court order approving the redemption and setting the final amount).

G. The hearing setting the final redemption amount is mandatory prior to issuance of
the certificate of redemption. Id., { 26. The court may issue the certificate of
redemption upon such terms and conditions as it deems just. § 39-5-17(D). If
Defendants desire to move forward with their redemption, this Court will set the
matter for hearing to determine the additional sums that must be tendered for issuance
of the certificate of redemption. See Id., | 26-32 (permitting court to award
additional interest, taxes, insurance payments and other sums to “prevent unjust
enrichment”). As stated above, Plaintiffs’ judgment lien automatically reinstated. In
the event Defendants tender the court-ordered additional payments, Plaintiffs shall be
entitled to simultaneous foreclosure of their lien and the property shall be placed for
sale under the same terms and conditions previously imposed herein.

H. Plaintiffs requested orally at the hearing that the sums previously deposited by
Defendants for the redemption be paid over to them. The Court will not rule on that
request without proper motion, briefing and hearing. See Chapel v. Nevitt, 2009-
NMCA-017, { 36, 145 N.M. 674 (holding at the hearing setting the redemption
amount, the court would have issued a certificate of redemption and determined how
the deposit was to be disbursed).

1. Defendants shall have 10 days from the date of this Order to file an election either
(a) requesting issuance of a certificate of redemption and hearing to set the final
amount or (b) withdrawing their request for issuance of a certificate of redemption. If

Defendants elect option (a), the certificate will be conditioned as stated above and the

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court will order simultaneous foreclosure by Plaintiffs. If Defendants fail to timely
file the required election, Defendants are deemed to have elected option (b),
withdrawal. In either case, the Court shall thereafter set the matter for hearing and
decide the remaining issues, including who is entitled to receive the initial deposited
redemption amount.

WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiffs are
granted summary judgment as requested in their Motion. In the event Defendants and/or
Defendants-in-Intervention elect to continue to redeem the property and request a certificate
of redemption, (a) Plaintiffs’ judgment lien is reinstated; (b) Plaintiffs shall be entitled to
simultaneous foreclosure of their lien; and (c) the property shall be placed for sale under the
same terms and conditions previously imposed herein. As stated above, the Court will set

this cause for further hearing following Defendants’ election ordered above.

Honorable Judge James Waylon Counts
Approved as to form:

0Y: :

W.T. Martin, Jr., counsel for Plaintiffs Kyle Moberly, counsel for Defendant

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Kyle Moberly

From: Kyle Moberly

Sent: Monday, May 13, 2019 2:48 PM

To: Ken Dugan

Subject: RE: Williams Otero County Suit

Attachments: Order Granting Motion for Summary Judgment - Williams v. Van Winkle (00018856xC177B).doc;
Redlined comparison of KHM draft with KD draft.pdf

Sensitivity: Confidential

Ken,

| have attached to this email my revised draft of the order. For your convenience, | have also attached to this email a
redlined comparison of my revised draft of the order with your draft of the order. Please let me know whether my
revised draft of the order is acceptable to you.

Sincerely,

Kyle H. Moberly

Law Office of Kyle H. Moberly, P.C.
2460 S. Locust Street, Suite E

Las Cruces, New Mexico 88001
(575) 541-1278

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-----Original Message-----

From: Ken Dugan <kdugan@lawmdm.com>
Sent: Wednesday, May 8, 2019 11:24 AM
To: Kyle Moberly <kyle@mobelaw.com>
Subject: Re: Williams Lincoln County Suit

Mr. Moberly
Attached is the draft order requested by the Court. Please advise if you

can agree as to form. If! have not heard from you in five days, ! will
tender it to the court under the assumption that you will file whatever objections you may have.

Kenneth D. Dugan Exhibit B

Martin, Dugan & Martin

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509 W. Pierce St.

P.O. Box 2168

Carlsbad, NM 88221-2168
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TWELFTH JUDICIAL DISTRICT COURT
COUNTY OF OTERO
STATE OF NEW MEXICO

BELLEVIEW VALLEY LAND CO, a New Mexico _ )

corporation, and John H. Williams and ELLEN B. )

WILLIAMS, husband and wife,
Plaintiffs, No. CV-2010-01054

VS.

TAMMY SPRAGUE, personal representative of Estate
of Fred Van Winkle, deceased,

Defendant/Petitioner,
and

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

Nee eee ae SS

Defendants-in-Intervention.

ORDER ON PLAINTIFFS’ MOTION FOR SUMMARY |
JUDGMENT TO FORECLOSE JUDGMENT LIEN AND
SUPPORTING BRIEF

Case 20-01022-t Doc 40-2 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 15 of 29
CAME ON to be heard the Plaintiffs’ Motion for Summary Judgment to Foreclose
Judgment Lien and Supporting Brief (the “Motion’) filed by Belleview Valley Land Co.
(“BVL”), John Williams and Ellen B. Williams (“Plaintiffs”). The parties were represented by
counsel in the hearing on March 11, 2019. Plaintiffs appeared through counsel, Kenneth Dugan.
Defendants appeared through counsel, Kyle Moberly. The Court having heard arguments of
counsel and being otherwise fully advised in the premises, finds that the following material facts
are undisputed:

1. The Court conducted a trial on the merits involving the same parties (Fred Van Winkle
and Brian Van Winkle) and real property involved herein (the “Property”) on August 13,
2010, in Cause No. D-1215-CV-200800076.

2. Plaintiffs obtained judgment against Fred Van Winkle in the amount of $243,944.31.

3. On August 17, 2010, Plaintiffs recorded a Transcript of Judgment reflecting the judgment
with the County Clerk of Otero County New Mexico, which created a judgment lien.

4. On December 16, 2010, Plaintiffs filed their Complaint to Foreclose Judgment Lien,
seeking to foreclose their judgment lien against the Property.

5. On or about September 1, 2011, the foreclosure action was stayed due to Fred Van
Winkle filing for relief under Chapter 13 of the Bankruptcy Code. Said bankruptcy
petition was dismissed due to failure to perform under the plan.

6. Fred Van Winkle filed a subsequent bankruptcy petition under Chapter 7. Fred Van
Winkle ultimately obtained a discharge in the Chapter 7 action.

7. Plaintiffs filed an adversary action in Bankruptcy Court to lift the stay and the judge, the
Honorable Robert H. Jacobvitz, lifted the stay and permitted Plaintiffs to proceed to

foreclosure their judgment lien against the Property.

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8. On May 22, 2014, Plaintiffs obtained a judgment to foreclose their judgment lien against
the Property, and the Property was sold at a special master’s sale on July 8, 2014.

9. Plaintiffs bid $67,000.00 at the special master’s sale. That was the high (and only) bid,
and Plaintiffs took title to the Property by Special Master’s Deed.

10. In July 2014, this Court confirmed the sale and granted Plaintiffs a continuing in rem
deficiency judgment in the amount of $271,905.61, plus interest.

11. On August 8, 2014, Plaintiffs recorded their transcript of judgment with the Otero County
Clerk.

12. On April 20, 2015, and within nine (9) months of the Court’s confirmation of the special
master’s sale of the Property, Defendant, Tammy Sprague, as personal representative of
the estate of Fred Van Winkle, filed her Petition for Redemption herein, seeking to
redeem the Property and to deposit in connection therewith the sum of $73,200.94 in the
office of the clerk of this Court.

13. On April 21, 2015, this Court issued the order authorizing Defendant to deposit the sum
of $73,200.94 into the court registry, and Defendant subsequently deposited that sum into
the court registry.

14. Defendant and Defendants-in-Intervention are seeking herein to redeem the Property free
of any liens.

15. Defendant and Defendants-in Intervention are not bona fide purchasers in good faith.

16. The estate of Fred Van Winkle has no assets other than a piece of real estate in Lincoln
County, New Mexico, that is the subject of a judgment lien foreclosure action filed by
Plaintiffs in this Court, which is Cause No. D-1215-CV-2015-00065.

THE COURT MAKES THE FOLLOWING CONCLUSIONS OF LAW:

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A.

B.

Case 20-01022-t

There are no issues of material fact, and thus summary judgment is appropriate.
NMSA 1978, Section 39-5-18(A) (2007), provides two methods of redemption.

“[T]he real estate may be redeemed by the former defendant owner of the real estate .

“(1) by paying to the purchaser, at any time within nine months from the date
of sale, the amount paid at the sale, with interest from the date of sale at the rate
of ten percent a year, together with all taxes, interest and penalties thereon, and all
payments made to satisfy in whole or in part any prior lien or mortgage not
foreclosed, paid by the purchaser after the date of sale, with interest on the taxes,
interest, penalties and payments made on liens or mortgages at the rate of ten
percent a year from the date of payment; OR

“(2) _ by filing a petition for redemption in the pending foreclosure case in the

district court in which the order, judgment or decree of foreclosure was entered

and by making a deposit of the amount set forth in Paragraph (1) of this
subsection in cash in the office of the clerk of that district court, at any time
within nine months from the date of sale.”

Defendant opted to redeem under NMSA 1978, Section 39-5-18 (A)(2); i.e., filing
a petition for redemption and depositing the stated sums.

Plaintiffs’ judicial lien was not fully satisfied by the foreclosure sale of the
Property. Plaintiffs have the right to seek satisfaction of their judgment, in rem, from
the former defendant owner. If Defendant redeems the Property, then Plaintiffs’
judgment lien will re-attach to the Property.

Plaintiffs now seek to foreclose their judgment lien against the Property.
Plaintiffs have the ability to seek payment of their judgment lien by again proceeding
to foreclose the Property if it is redeemed herein.

“At the hearing” of Defendant’s petition to redeem the Property, “the judge shall

determine the amount of money necessary for the redemption, which shall include the

money paid at the sale and all taxes, interest, penalties and payments made in

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satisfaction of liens, mortgages and encumbrances.” NMSA 1978, Section 39-5-18(C)
(2007).
G. The hearing setting the final redemption amount is mandatory prior to issuance of

the certificate of redemption. W. Bank of Las Cruces v. Malooly, 1995-NMCA-044,

4] 26, 119 N.M. 743. The court may issue the certificate of redemption upon such
terms and conditions as it deems just. NMSA 1978, Section 39-5-18(C) (2007).
WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that-

1. Plaintiffs are granted summary judgment as requested in their Motion.

2. If Defendant desires to complete her redemption of the Property, then this Court will set
the matter for hearing to determine the additional sums that must be tendered by her for
issuance of the certificate of redemption.

3. Defendant shall have 10 days from the date this Order is entered to either (a) request a
hearing of her petition for redemption of the Property or (b) withdraw her petition for
redemption of the Property. If Defendant fails to do either within the specified period,
then she shall be deemed to have elected to withdraw her petition for redemption of the
Property. If Defendant elects or is deemed, pursuant to the preceding sentence, to have
elected to withdraw her petition for redemption of the Property, then the clerk of this
Court is hereby ordered to disburse to Defendant the funds that she deposited with the
clerk in connection with her petition for redemption of the Property and all interest
earned thereon.

4. If Defendant redeems the Property, then Plaintiffs’ judgment lien shall automatically re-
attach to the Property and Plaintiffs shall thereafter be entitled to foreclose their judgment

lien and sell the Property under the same terms and conditions previously imposed herein.

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Honorable Judge James Waylon Counts
Approved as to form:

°Y. ;

W.T. Martin, Jr., counsel for Plaintiffs Kyle Moberly, counsel for Defendant

Case 20-01022-t Doc 40-2 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 20 of 29
TWELFTH JUDICIAL DISTRICT COURT
| COUNTY OF LINCGLNOTERO
STATE OF NEW MEXICO

BELLEVIEW VALLEY LAND CO, a New Mexico _ )
corporation, and John H. Williams and ELLEN B. )
WILLIAMS, husband and wife,

Plaintiffs, No. CV-2015-

800652010-01054
VS.

FTuHE-TAMMY SPRAGUE, personal representative of
Estate of Fred Van Winkle, deceased,

Defendant-/Petitioner,

and

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

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Defendants-in-Intervention.

ORDER ON PLAINTIFFS’ MOTION FOR SUMMARY
JUDGMENT TO FORECLOSE JUDGMENT LIEN AND
SUPPORTING BRIEF

Case 20-01022-t Doc 40-2 Filed 03/26/21 Entered 03/26/21 12:20:33 Page 21 of 29
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by counsel in the hearing on March 11, 2019. Plaintiffs appeared through counsel, Kenneth
Dugan. Defendants appeared through counsel, Kyle Moberly. The Court having heard arguments

of counsel and being otherwise fully advised in the premises, finds that the Motion-should-be-and

hereby—is -GRANTEDfor_the_reasons—stated_in_the—_Metien-following material facts are

undisputed:
ot i £ din-the Motion the C cade the followi ‘al
facts-aretundisputed and mest relevant:

1. The Court conducted a trial on the merits involving the same parties (Fred Van Winkle

and Brian Van Winkle) and real property involved herein (the “Property”) on August 13,

2010, in Cause No. D-1215-CV-200800076.

2. Plaintiffs obtained judgment against Fred Van Winkle in the amount of $243,944.31.

3. On August 17, 2010, Plaintiffs recorded a Transcript of Judgment reflecting the judgment
with the County Clerk of Otero County New Mexico, which created a judgment lien.

4. On December 16, 2010, Plaintiffs flefiled their Complaint to Foreclose Judgment Lien,
seeking to foreclose on+thetheir judgment lien against the Property.

5. On or about September 1, 2011, the foreclosure action was stayed due to Fred Van
Winkle filing for relief under Chapter 13 of the Bankruptcy Code. Said bankruptcy
petition was dismissed due to failure to perform under the plan.

6. Fred Van Winkle filed a subsequent bankruptcy petition under Chapter 7. Fred Van

Winkle ultimately obtained a discharge in the Chapter 7 action.

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7. Plaintiffs filed an adversary action in Bankruptcy Court to lift the stay and the judge, the
Honorable Robert H. Jacobvitz, lifted the stay and permitted Plaintiffs to proceed to
foreclosure te-enferee-their judgment lien as-te-Debter's-Otere-County_prepertyagainst

the Property.
8. On May 22, 2014, Plaintiffs then-obtained a judgment inforeclosure-inthis-Court-for

$333,814723-(phiscontinuing—interestto_foreclose_their_judgment lien against _the

Property, and p

sold at a special master'smaster’s sale_on July 8, 2014.

9. Plaintiffs bid $67,000.00 at the special ssaster'smaster’s sale. That was the high (and

only) bid, and Plaintiffs took title to the prepertyProperty by Special Master'sMaster’s
Deed.

10. In July 2014, this Court confirmed the sale and granted Plaintiffs a continuing in rem
deficiency judgment in the amount of $271,905.61, plus interest.

11. On August 8, 2014, Plaintiffs recorded their transcript of judgment with the Otero County

Clerk,perfecting—their_judgment—tien—on-—the—Defendants—property—in—the—amount-_of

s
— > . >

12. On April 20, 2015, and within nine (9) months of the j:dgmentCourt’s confirmation of

the special master’s sale of the Property, Defendant-Estate, Tammy Sprague, as personal

representative of the estate of Fred Van Winkle, filed i#tsher Petition for Redemption

herein, seeking to redeem the preperty-by-paymentProperty and to deposit in connection
therewith the sum of $73,200.94 in the office of the clerk of this Court.

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13. On April 21, 2015, this Court issued the order authorizing Defendant to deposit ofthe

redemption-fundssum of $73.200.94 into the court registry, and Defendant Estate-ofFred

Van-Winkle-subsequently deposited that sum into the court registry-the $73.200.94-sum..

14. Defendant and Defendants-in-Intervention are seeking herein to redeem the

propertyProperty free of any liens.

15. Defendant and Defendants-in Intervention are not bona fide purchasers in good faith.

16. The estate of Fred Van Winkle has no assets other than varieusa_piece of real property

interestsestate in Lincoln County, New Mexico, that areis the subject te-the-deficiencyof

a judgment liens-referenced-abevelien foreclosure action filed by Plaintiffs in this Court,

which is Cause No. D-1215-CV-2015-00065.

THE COURT MAKES THE FOLLOWING CONCLUSIONS OF LAW:

A.

There are no issues of material fact, and thus summary judgment is appropriate.

B-——NMSA 1978, Section 39-5-18(A) (2007), provides:

€.B.__f two methods of redemption. “[T]he real estate may be redeemed by the former

defendant owner of the real estate ——.. .:

“(1)___by paying to the purchaser, at any time within nine months from the date
of sale, the amount paid at the sale, with interest from the date of sale at the rate
of ten percent a year, together with all taxes, interest and penalties thereon, and all
payments made to satisfy in whole or in part any prior lien or mortgage not
foreclosed, paid by the purchaser after the date of sale, with interest on the taxes,
interest, penalties and payments made on liens or mortgages at the rate of ten
percent a year from the date of payment; OR

“(2)__by filing a petition for redemption in the pending foreclosure case in the
district court in which the order, judgment or decree of foreclosure was entered
and by making a deposit of the amount set forth in Paragraph (1) of this
subsection in cash in the office of the clerk of that district court, at any time
within nine months from the date of sale—.”

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Plaintifés!

C. Defendant opted to redeem under NMSA 1978, Section 39-5-18 (A)(2); ie., filing

a petition for redemption and depositing the stated sums.
E.D. Plaintiffs’ judicial lien was not fully satisfied by the foreclosure on—Fred-Van

Winkde'standsale of the Property. Plaintiffs have the right to seek satisfaction of their

judgment, in rem, from the former defendant owner. Defendant’s—redemption

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NMSC-042_-9-8 10.49 NLM, 329If Defendant redeems the Property, then Plaintiffs’

judgment lien will re-attach to the Property.

FE. Plaintiffs now seek to foreclose_their judgment lien against the Property.

Plaintiffs have the ability to seek payment of their judgment lien by again proceeding

to foreclose the real propertyProperty if it is redeemed herein.
GF. Priorte-issuing—a—certificate-of redemption““At the hearing” of Defendant’s
petition to redeem the Property, “the judge shall determine the amount of money

necessary for the redemption, which shall include the money paid at the sale and all
taxes, interest, penalties and payments made in satisfaction of liens, mortgages and
encumbrances-"-$39-5-18 NMSA_1978.— Defendants -_have not yet-_paidthe-full sums
redeemed.—.”” NMSA _1978, Section 39-5-18(C) (2007).¥

redemption-amount_ through date_of final court _erder_approving the redemption_and

HG. __ The hearing setting the final redemption amount is mandatory prior to issuance of

the certificate of redemption. W. Bank of Las Cruces v, 44,,-$26-the-court may
. ee ceed 1 conditions asitd sast—§

” - gs so . . i
. ? oS

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herein-Malooly, 1995-NMCA-044, 4 26, 119 N.M. 743. The court may issue the

certificate of redemption upon such terms and conditions as it deems just. NMSA

1978, Section 39-5-18(C) (2007).

(a) -requestine issuance-of-a-certificate-of redemption_and_hearingto--set_the final
b) withdrawing thei for j . 6 brad con_Hf

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Detendantsin-itervention-electto-continue-toredeenthe-praperthy_and-request-a-_cortifieate
of redemption,ta) Plaintiffs _judementten—is_renstated:{b)} -Plaintiffs-shall _be-entitled_to
simultaneeusforeclosureof thei tien:-and-(e)}-the-property shall _be-phliced-forsalernderthe
same-terms-and-conditions_previously-imposed-herein.—_As-stated-above_the-Court-wil set
this—eause—for—further—hearing__following—Defendants-—election —ordered—above.

WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that-

1. Plaintiffs are granted summary judgment as requested in their Motion.

2. If Defendant desires to complete her redemption of the Property, then this Court will set

the matter for hearing to determine the additional sums that must be tendered by her for

issuance of the certificate of redemption.

3. Defendant shall have 10 days from the date this Order is entered to either (a) request a

hearing of her petition for redemption of the Property or (b) withdraw her petition for

redemption of the Property. If Defendant fails to do either within the specified period,

then she shall be deemed to have elected to withdraw her petition for redemption of the

Property. If Defendant elects or is deemed, pursuant to the preceding sentence, to have

elected to withdraw her petition for redemption of the Property, then the clerk of this

Court is hereby ordered to disburse to Defendant the funds that she deposited with the

clerk in connection with her petition for redemption of the Property and all interest

earned thereon.

4.4.I1f Defendant redeems the Property, then Plaintiffs’ judgment lien shall automatically re-

attach to the Property and Plaintiffs shall thereafter be entitled to foreclose their judgment

lien and sell the Property under the same terms and conditions previously imposed herein.

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Honorable Judge James Waylon Counts
Approved as to form:

PDA FOX ¥-

W.T. Martin, Jr., counsel for Plaintiffs Kyle Moberly, counsel for Defendant

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